Case 07-11047-CSS Doc 9650-1 Filed 01/07/11 Page1of3

Plumbers’ & Pipef tters
Local # 562 Supplemental
Plan & Trust v. J.P. Morgan
Acceptance Corp. f[ et al.
No. 08-cv-1713 (E.D.N.Y.)

EXHIBIT A

J.P. Morgan Acceptance Corporation I
J.P. Morgan Securities Inc.

David M. Duzyk

Louis Schioppo, Jr.

Christine E. Cole

Edwin F. McMichael

JPALT 5006. AB)

JPALT 2006-A4
JPALT 2006-A5
JPALT 2006-A6
JPALT 2006-83
JPMMT 2006-A5
JPMMT 2006-A6
JPMMT 2006-A7
JPMMT 2006-82
JPMMT 2007-81

Fort Worth Employees’ Ret.
Fund v. J.P. Morgan Chase
& Co., et al.

No. 09-cv-03701 (S.D.N.Y.)

JPMorgan Chase & Co.
J.P. Morgan Securities Inc.

J.P. Morgan Mortgage Acquisition Corp.

J.P. Morgan Acceptance Corporation I
Brian Bernard

Louis Schioppo Jr.

Christine E. Cole

David M. Duzyk

William King

Edwin F. McMichael

JPALT 2007-A2

JPALT 2007-81

JPMMT 2007-82
JPMMT 2007-83
JPMMT 2007-A3
JPMMT 2007-A4
JPMMT 2007-A6

Federal Home Loan Bank of
Pitisburgh v. J. P. Morgan
Securities Inc., et al.

No. GD-09016892 (Ct. of

JPMorgan Chase & Co.
J.P. Morgan Securities Inc.

J.P. Morgan Mortgage Acquisition Corp.

J.P. Morgan Acceptance Corporation I

JPMMT 2006-52
JPMMT 2007-A6

Common Pleas, Allegheny Chase Home Finance, L.L.C.

County, Pa.)

Ambac Assurance EMC Mortgage Corporation SACO 2006-2
Corporation v. EMC SACO 2006-8

Mortgage Corporation
08 Civ. 9464 (RMB) (THK)
In the United States District
Court for the Southern

BSSLT 2007-1

' JPALT = J.P. Morgan Alternative Loan Trust; JEMMT = J.P. Morgan Mortgage Trust; SAMI: Structured Asset
Mortgage Investments; BSABS: Bear Stearns Asset Backed Securities; BSMF: Bear Stearns Mortgage Funding;
WMALT: Washington Mutual Mortgage Pass-Through Certificates; BSSLT: Bear Steams Second Lien Trust.

{519.005-W0012363.}

Case 07-11047-CSS Doc 9650-1 Filed 01/07/11 Page 2of3

ae Litigation
District of New York

Inve Bear Stearns Mortgage
pass-Through Certificates
Litigation

No. 08 Civ. 8093
(LTS)GRNF) (S.D.N.Y.)

Structured Asset Mortgage Investments II,
Inc.

Bear, Stearns & Co, Inc.

J.P. Morgan Securities, Inc.

EMC Mortgage Corp.

Bear Stearns Asset Backed Securities I,
LLC

Jeffrey L. Verschleiser

Michael B. Nierenberg

Jeffrey Mayer

Thomas F. Marano

Matthew E. Perkins

Joseph T, Jurkowski, Jr.

Samuel L, Molinaro, Jr.

Kim Lutthans

Katherine Garniewski

SAMI 2006-AR5

Federal Home Loan Bank of
Seattle v. Bear, Stearns &
Co. Inc., et al.

No. 09-2-46319-1 SEA (Sup.
Ct., King Co., Wash.)

Bear, Stearns & Co. Inc.

Structured Asset Mortgage Investments I],
Inc.

The Bear Stearns Companies Inc.

SAMI 2007-AR7

Federal Home Loan Bank of
San Francisco v. Credit
Suisse Securities (USA) LLC,
et al.

No. CGS-10-497840 (Sup.
Ct. San Francisco Co., Ca.)

J.P. Morgan Securities, Inc. (f/k/a/ Bear,
Stearns & Co. Inc.)

The Bear Stearns Companies, LLC (f/k/a
The Bear Stearns Companies, Inc.)
Structured Asset Mortgage Investments I,
Inc.

SAMI 2007-AR5

Cambridge Place Investment
Management Inc. v. Morgan
Stanley & Co., Inc. et al.

No. 10-2741 (Sup. Ct.
Suffolk Co., Mass.)

J.P. Morgan Securities, Inc.

J.P. Morgan Acceptance Corp. I

Bear Stearns Asset Backed Securities I,
LLC

Long Beach Securities Corp.

Structured Asset Mortgage Investments IT,
Ine.

SACO I Inc.

Washington Mutual Securities Corp.

BSABS 2005-HE8
BSMF 2007-SL2
SACO 2005-2
SACO 2005-3
SACO 2005-4
SACO 2005-7

{519.005-W0012363.}

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Litigation

le) oe Pransactions: -

Chicago v. Banc of America
Securities LLC, et al.
No. LC091499

Federal Home Loan Bank of 7 P. Morgan A Acceptance Corporation 1

J.P. Morgan Securities, Inc.
JPMorgan Securities Holdings LLC
JPMorgan Chase & Co.

JPALT 2006-A5
JPMMT 2006-A5

Federal Home Loan Bank of
San Francisco v. Deutsche
Bank Securities, et al. CGC-
10-497839

J.P. Morgan Securities, Inc. (f/k/a/ Bear,
Stearns & Co. Inc.)

Structured Asset Mortgage Investments II,

Inc.

The Bear Stearns Companies, LLC (f/k/a
The Bear Stearns Companies, Inc.)
WaMu Capital Corp.

Washington Mutual Securities Corp.

WMALT 2005-5
WMALT 2005-8
WMALT 2006-1
WMALT 2006-3

The Charles Schwab
Corporation v. J.P. Morgan
Securities, Inc., et al., No.
10-04522 JSW (N.D. Cal)

J.P. Morgan Securities Inc.
Bear Stearns Asset Backed Securities I
LLC

BSABS 2006-AC2

The Charles Schwab

Corporation v. J.P. Morgan
Securities Inc., et al, No. 3-
10- 04523 JSW (N.D. Cal.)

JP Morgan Securities Inc

Bear Stearns Asset Backed Securities I
LLC;

Chase Mortgage Finance Corporation
J.P. Morgan Acceptance Corporation I
JPMorgan Securities Holding LLC

JPMMT 2007-8]

{519.005-W0012363,}

